         Case 1:24-cv-03109-JLR               Document 65-1             Filed 04/27/24          Page 1 of 2


  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK




  IN THE MATTER OF AN APPLICATION
  TO BRING PERSONAL ELECTRONIC DEVICE(S) OR
  GENERAL PURPOSE COMPUTING DEVICE(S) INTO
  THE COURTHOUSES OF THE
  SOUTHERN DISTRICT OF NEW YORK FOR
  USE IN A PROCEEDING OR TRIAL




          The following Order is subject to the definitions, obligations and restrictions imposed pursuant to
  Standing Order M10-468, as Revised. Upon submission of written application to this Court, it is hereby

           ORDERED that the following attorney(s) are authorized to bring the Personal Electronic Device(s) and/
  or the General Purpose Computing Device(s) (collectively, "Devices") listed below into the Courthouse for use in
  a proceeding or trial in the action captioned:

 __________________________________________________________________________________________.

          ORDERED that for the device(s) checked below SDNY Courtroom WI-FI access shall be provided.

          The date(s) for which such authorization is provided is (are)_______________________.
            Attorney                               E-Mail                           Device(s)          Courtroom        WIFI
                                                                                                                       Granted




                                            (Attach Extra Sheet If Needed)

           The attorney(s) identified in this Order must present a copy of this Order when entering the
 Courthouse. Bringing any authorized Device(s) into the Courthouse or its Environs constitutes a certification by
 the attorney that he or she will comply in all respects with the restrictions and obligations set forth in Standing
 Order M10-468, as Revised.

                   SO ORDERED:



Dated:




                                                                             United States Judge



 Revised: July 1, 2019.
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Extra Sheet                          pplication to Bring Personal Electronic Device(s) or
General Purpose Computing Device(s) Into the Courthouse of the Southern District of New York
for Use in a Proceeding or Trial (Federal Trade Commission v. Tapestry, Inc. et al., Case No.
1:24-cv-03109-JLR)

   Attorney            E-Mail              Device(s)        Courtroom        WiFi Granted
   Damian G.      DGDidden@wlrk.com       Mobile Phone;    Courtroom 23B          Y
    Didden                                  Laptop
  Katharine R.     KRHaigh@wlrk.com       Mobile Phone;    Courtroom 23B           Y
     Haigh                                  Laptop
 Jordan Cohen-    JCKaplan@wlrk.com       Mobile Phone;    Courtroom 23B           Y
     Kaplan                                 Laptop
    Martin J.     MJSicilian@wlrk.com     Mobile Phone;    Courtroom 23B           Y
    Sicilian                                Laptop
